Case 24-40833 Doc 6

LAVISH HEALTH SERVICES LLC

7204 WEST 27TH STREET
SAINT LOUIS PARK, MN 55426-3157

(612) 876-2151

PAY TO THE NEAL, PENNY

ORDER OF

NEAL, PENNY

2011 3RD AVENUE SOUTH
MINNEAPOLIS, MN 55404

NEAL, PENNY
WORKER ID : F6C3-3
2011 3RD AVENUE SOUTH

MINNEAPOLIS, MN 55404

PERIOD START 01/05/2024 CHECK DATE
PERIOD END 01/18/2024 CHECK NUMBER
LAVISH HEALTH SERVICES LLC

7204 WEST 27TH STREET

SAINT LOUIS PARK, MN 55426-3157

(612) 876-2151

EMPLOYER MEMO:

TIME OFF TYPE EARNED uBED AVAILABLE

Document

NON-NEGOTIABLE

01/26/2024

EARNED YTD

0

Use0 YTo

Page 1 of 4
NET $1,058.37
EARNINGS TYPE. RATE WORKED | TUE OFF
REGULAR - HRLY $22.00. 58.33 hrs
. TOTAL HOURS a0 49
& EARNINGS 58.33 bre. 0.00 bra
TAXES TYPE CURRENT
FED WTH $77.68
| FICA $79.56
| MEDFICA $19.60
STATE-MN $49.05
TOTAL TAXES $224.80
DEDUCTIONS TYPE CURRENT
TOTAL DEDUCTIONS $0.c0
TOTAL EARNINGS $1,283.26
TOTAL TAXES $224.89
TOTAL DEDUCTIONS

$0.00

CURRENT

$1,283.28

$1,283.26

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01/26/2024

vo”
$2.889.26

$2,889.26

To

$194.09
$179.13

$41.89
$117.88

$532.99

$0.00
$2,889.26
$532.99
$0.00

*Non-Cash Earnings are not included in the Net Pay amount, but are included in
the Earnings Period and YTD Totels

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LAVISH HEALTH SERVICES LLC

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ORDER OF
NEAL, PENNY
2011 3RD AVENUE SOUTH

MINNEAPOLIS, MN 55404

NEAL, PENNY
WORKER ID : F6C3-3

2011 3RD AVENUE SOUTH
MINNEAPOLIS, MN $5404

PERIOD START 01/21/2024 CHECK DATE
PERIOD END 02/03/2024 CHECK NUMBER

LAVISH HEALTH SERVICES LLC

7204 WEST 27TH STREET
SAINT LOUIS PARK, MN 55426-3157
(612) 876-2151
EMPLOYER MEMO:
: TIME OFF TYPE . EARNED USED AVAILABLE

EARNED YTD

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02/08/2024
0

USED YTO

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EARNINGS TYPE
REGULAR - HRLY

TOTAL HOURS

NET = $1,362.08

RATE WORKED = TIME OFF
$22.00 76.83 hrs

CURRENT

$1,690.26

$1,690.25

2 EARNINGS 76.83 bre 0.00 hrs :
TAXES TYPE CURRENT . :
FED WTH $126.52 |
FICA $104.80
MEDFICA $2451
STATE-MN $72.35
TOTAL TAXES $328.18
DEBUCTIONS TYPE CURRENT
TOTAL DEDUCTIONS $0.00
TOTAL EARNINGS $1,690.26
TOTAL TAXES $328.18
TOTAL DEDUCTIONS $0.00

02/08/2024

yTo
$4,579.52

$4,579.52

YTD

$320.61
$283.93

$66.40
$190.23

$861.47 »

$0.00

$4,579.52
$861.17
$0.00

*Non-Cash Earnings are not included in the Net Pay amount, but are included in
the Earnings Period and YTD Totals

Case 24-40833 Doc 6

LAVISH HEALTH SERVICES LLC
7204 WEST 27TH STREET
SAINT LOUIS PARK, MN 55426-3157

(612) 876-2151

PAY TO THE NEAL, PENNY

ORDER OF

NEAL, PENNY

2011 3RD AVENUE SOUTH
MINNEAPOLIS, MN 55404

NEAL, PENNY
WORKER ID : F6C3-3

2011 3RD AVENUE SOUTH
MINNEAPOLIS, MN 55404

02/04/2024 CHECK DATE
02/18/2024 CHECK NUMBER

PERIOD START
PERIOD END

LAVISH HEALTH SERVICES LLC

7204 WEST 27TH STREET
SAINT LOUIS PARK, MN 55426-3157
(612) 876-2151

EMPLOYER MEMO:

TIME OFF TYPE EARNED USED

AVAILABLE EARNED YTD

NON-NEGOTIABLE

02/23/2024
0

USED YTD

Page 3 of 4
NET $1,405.28
EARNINGS TYPE RATE . WORKED TIME OFF :
REGULAR - HRLY $22.00; 79.50 hrs
TOTAL HOURS
& EARNINGS 79.50 bre 6.00 hrs.
TAXES TYPE ents he CURRENT
FED WTH : $133.57
- BICA $108.44
MEDFICA $25.36
STATE-MN $76.35
TOTAL TAXES $343.72 |
DEOUCTIONS TYPE cul RRENT
TOTAL DEDUCTIONS $0.90
TOTAL EARNINGS $1,749.00
TOTAL TAXES $343.72
TOTAL DEDUCTIONS $0.00

CURRENT

$1,749.00

$1,749.00

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02/23/2024

To
$6,328.52

$6,328.52

$1,204.89

$0,00

$6,328.52
$1,204.89
$0.00

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the Eamings Period and YTD Totals

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ORDER OF

NEAL, PENNY
2011 3RD AVENUE SOUTH
MINNEAPOLIS, MN 55404

NEAL, PENNY
WORKER ID : F6C3-3

2011 3RD AVENUE SOUTH
MINNEAPOLIS, MN 55404

02/17/2024 CHECK DATE
03/03/2024 CHECK NUMBER

PERIOD START
PERIOD END

LAVISH HEALTH SERVICES LLC

7204 WEST 27TH STREET
SAINT LOUIS PARK, MN 55426-3157
(612) 876-2151

EMPLOYER MEMO:

TWKE OFF TYPE @ARNED USED AVAILABLE

Document

NON-NEGOTIABLE

03/08/2024

BARNED YTD

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_, BED YTO

NET = $1,445.73
EARNINGS TYPE RATE WORKED TINE OFF
REGULAR - HRLY $22.00. 82.00 hrs :
TOTAL HOURS
& EARNINGS 82,00 hrs 0.00 hrs .
TAXES TYPE CURRENT : -
FED WTH ‘ $440.17
FICA $111.85
MEDFICA $26.16
STATE-MN $80.09
TOTAL TAXES $358.27
DEDUCTIONS TYPE CURRENT —
TOTAL DEDUCTIONS $0.00
TOTAL EARNINGS $1,804.00
TOTAL TAXES $358.27
TOTAL DEDUCTIONS

$0.00

CURRENT

$1,804.00 °

$1,604.00

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03/08/2024

TD i
$8,132.52 '

$8,132.52

vo :
$594.35
$504.22 /
$117.62
$346.87

$1,563.16 -

$0.00

$8,132.52
$1,563.16
$0.00

*Non-Cash Earnings are not included in the Net Pay amount, but are included in

the Earmings Period and YTD Totals

